                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
                        Plaintiff,                )
                                                  )
 v.                                               )             No. 3:15-CR-107
                                                  )
 MARTIN KENNETH WHEELER, JR.,                     )             (PHILLIPS/SHIRLEY)
                                                  )
                        Defendant.                )


                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. The parties appeared before the undersigned on September

 17, 2015, for a motion hearing on Defendant Martin Wheeler’s Motion to Substitute Counsel

 [Doc. 288], filed on September 8, 2015, by Assistant Federal Defender Paula R. Voss. Assistant

 United States Attorney Caryn L. Hebets appeared on behalf of the Government. Ms. Voss

 appeared along with the Defendant.

                Attorney Voss asks to be relieved of his representation of the Defendant due to an

 actual conflict of interest stemming from the Federal Defender Services of Eastern Tennessee’s

 representation of another client. At the September 17 hearing, Ms. Voss stated that she had

 discussed the conflict generally with the Defendant, who understood her need to withdraw from

 the case. The Court questioned the Defendant, who stated that he understood that Ms. Voss

 needed to withdraw from representing him. The Government had no objection to the requested

 substitution of counsel.




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               The Sixth Amendment right to counsel encompasses the right to have an attorney

 who does not have a conflict arising from simultaneous representation of clients with conflicting

 interests. See Glasser v. United States, 315 U.S. 60, 70 (1942). Although the Court “must

 recognize a presumption in favor of [the defendant’s] counsel of choice, . . . that presumption

 may be overcome not only by a demonstration of actual conflict but by a showing of a serious

 potential for conflict.” Wheat v. United States, 486 U.S. 153, 160 (1988). “‘[W]hen a trial court

 becomes aware of a potential conflict of interest, it is obligated to pursue the matter even if

 counsel does not.’” United States v. Straughter, 950 F.2d 1223, 1233 (6th Cir. 1991) (quoting

 United States v. Krebs, 788 F.2d 1166, 1172 (6th Cir. 1986)). Indeed, a court may conclude

 disqualification is necessary even if the defendant offers to waive the conflict because of its

 independent interest in assuring the ethical standards of the profession and the appearance of

 fairness to those observing legal proceedings. Wheat, 486 U.S. at 160.

               In light of the existence of an actual conflict of interest, the Court finds good

 cause to grant defense counsel’s Motion to Substitute Counsel [Doc. 288], the same is

 GRANTED, and Ms. Voss and the Federal Defender Services are relieved as counsel for

 Defendant Wheeler. See Wilson v. Mintzes, 761 F.2d 275, 280 (6th Cir. 1985) (holding that a

 defendant seeking to substitute counsel must show good cause). The Court recognizes the need

 for the Defendant to be continuously represented by conflict-free counsel. Attorney J. Russell

 Pryor appeared at the hearing and agreed to accept representation of the Defendant. The Court

 therefore and hereby SUBSTITUTES and APPOINTS Mr. Pryor under the Criminal Justice

 Act (CJA), 18 U.S.C. § 3006A, as counsel of record for Defendant Martin Wheeler. Attorney

 Voss stated that she had given Mr. Pryor some discovery in the case but that he would need to


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 sign a protective order before receiving copies of the hard drive and discs from the Government.

 The Court instructed Mr. Pryor to contact AUSA Hebets about the discovery in this case.

               IT IS SO ORDERED.

                                             ENTER:

                                                  s/ C. Clifford Shirley, Jr.
                                             United States Magistrate Judge




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